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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS

 YOLANDA HAYES,                                   Case No. 3:17-cv-03262-L

                 Plaintiff,                       District Judge Sam A. Lindsay
                                                  Magistrate Judge David L. Horan
         v.

 NATIONAL CREDIT AUDIT CORP.,

                 Defendant.

                                 NCAC’S MOTION TO DISMISS

        Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendant NCAC moves to dismiss

Plaintiff’s claims for lack of jurisdiction.

        This motion is supported by an appendix pursuant to Local Rule 7.1 and by a brief pursuant

to Local Rule 7.2. Those documents are filed separately but incorporated by reference.

                                                            /s/ Jason A. Spak
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                                                            Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2018, I filed a true and correct copy of the foregoing

MOTION TO DISMISS with the Court’s ECF system, which will make service upon Plaintiff by

her counsel of record, namely:

                                    Yitzchak Zelman, Esquire
                                 1500 Allaire Avenue, Suite 101
                                    Ocean, New Jersey 07712
                                  yzelman@marcuszelman.com
                                      Counsel for Plaintiff


                                                            /s/ Jason A. Spak
                                                            Jason A. Spak
                                                            Counsel for Defendant
